UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                   Order of Continuance

                        v.                                  No. 24 Mag. 3535

 MOHAMED BAHI,

                                       Defendant.



       Upon the application of the United States of America and the affirmation of Derek

Wikstrom, Assistant United States Attorney for the Southern District of New York, it is found that

the defendant was charged with violating Title 18, United States Code, Sections 1512 and 1519 in

a complaint dated October 7, 2024, and was arrested on October 8, 2024;

       It is further found that the defendant was presented before Magistrate Judge Robert W.

Lehrburger on October 8, 2024, and the defendant was ordered to be released on bail subject to

certain conditions on or about the same day;

       It is further found that Derek Adams, Esq., counsel for the defendant, and Assistant United

States Attorney Derek Wikstrom have been engaged in, and are continuing, discussions concerning

a possible disposition of this case;

       It is further found that the Government has requested a continuance of 30 days to engage

in further discussions with counsel about the disposition of this case and that the defendant, through

counsel, has consented that such a continuance may be granted for that purpose and has specifically

waived her right to be charged in an indictment or information for an additional 30 days; and

       It is further found that the granting of such a continuance best serves the ends of justice

and outweighs the best interests of the public and the defendant in a speedy trial; and therefore it

is:
       ORDERED that the request for a continuance pursuant to 18 U.S.C. § 3161(h)(7)(A) is

hereby granted until December 9, 2024, and that a copy of this Order and the affirmation of

Assistant United States Attorney Derek Wikstrom be served by email on this date on counsel for

the defendant by the United States Attorney’s Office.


Dated: New York, New York
       November 6, 2024




                                            United States Magistrate Judge
                                            Southern District of New York
